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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

    KENNETH NOEL                                            CIVIL ACTION

    VERSUS                                                     NO. 17-1989

    INLAND DREDGING COMPANY,                              SECTION “R” (3)
    LLC, AND HUNTER MARINE
    GROUP, LLC


                          ORDER AND REASONS

       Before the Court are Defendant Hunter Marine Group, LLC’s two

motions in limine to exclude the expert testimony of Glenn M. Hebert and

Dr. G. Randolph Rice.1 For the following reasons, both motions are granted

in part and denied in part.


I.     BACKGROUND

       This case arises out of an accident involving Defendant Hunter

Marine’s vessel, the M/V MISS MONA.2 On March 16, 2016, Plaintiff

Kenneth Noel was a passenger on the M/V MISS MONA when the vessel ran

aground. 3 Plaintiff asserts that he was thrown forward by the impact, and

other men fell on top of him. 4 Plaintiff alleges that he suffered serious


1      R. Doc. 37; R. Doc. 38.
2      R. Doc. 3; R. Doc. 37-1 at 1; R. Doc. 39 at 2.
3      R. Doc. 37-1 at 1; R. Doc. 39 at 2-3.
4      R. Doc. 39 at 3.
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injuries to his lower back as a result of the accident. 5 According to the

complaint, plaintiff was on Hunter Marine’s vessel in the course of his

employment as a seaman with Defendant Inland Dredging Company, LLC. 6

       On March 9, 2017, plaintiff filed suit for damages against Inland

Dredging and Hunter Marine.7 Plaintiff alleges that his injuries were caused

by defendants’ negligence and/or the unseaworthiness of the vessel. 8 He

asserts claims for past and future wage loss, medical expenses, pain and

suffering, maintenance and cure, and other damages.9 This case is set for a

bench trial to begin on May 14, 2018.10 Hunter Marine now moves to exclude

plaintiff’s vocational rehabilitation expert, Glenn M. Hebert, and plaintiff’s

economic expert, Dr. G. Randolph Rice. 11


II.    LEGAL STANDARD

       Federal Rule of Evidence 702 provides that a witness “qualified as an

expert by knowledge, skill, experience, training, or education” may provide

opinion testimony when “scientific, technical, or other specialized




5      Id. at 4; R. Doc. 3 at 3 ¶ IX.
6      R. Doc. 3 at 2 ¶ VI.
7      R. Doc. 1.
8      R. Doc. 3 at 2-3 ¶ VIII.
9      Id. at 3-4 ¶¶ X-XII.
10     R. Doc. 21.
11     R. Doc. 37; R. Doc. 38.
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knowledge will assist the trier of fact to understand the evidence or to

determine a fact in issue.” Fed. R. Evid. 702. To be admissible, Rule 702

requires that (1) the testimony be based on sufficient facts or data, (2) the

testimony be the product of reliable principles and methods, and (3) the

witness apply the principles and methods reliably to the facts of the case. Id.

      In Daubert v. Merrell Dow Pharmaceuticals, Inc., the Supreme Court

held that Rule 702 requires the district court to act as a gatekeeper to ensure

that “any and all scientific testimony or evidence admitted is not only

relevant, but reliable.” 509 U.S. 579, 589 (1993); see also Kumho Tire Co. v.

Carmichael, 526 U.S. 137, 147-48 (1999) (clarifying that the Daubert

gatekeeping obligation applies to all forms of expert testimony). The Court’s

gatekeeping function involves a two-part inquiry. First, the Court must

determine whether the expert testimony is reliable. The party offering the

testimony has the burden to establish reliability by a preponderance of the

evidence. See Moore v. Ashland Chem. Inc., 151 F.3d 269, 276 (5th Cir.

1998).   The Court must assess whether the reasoning or methodology

underlying the expert’s testimony is valid. See Daubert, 509 U.S. at 590. The

aim is to exclude expert testimony based merely on subjective belief or

unsupported speculation. See id. The Court’s inquiry into the reliability of




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expert testimony is flexible and necessarily fact-specific. See Seatrax, Inc. v.

Sonbeck Int’l, Inc., 200 F.3d 358, 372 (5th Cir. 2000).

      Second, the Court must determine whether the expert’s reasoning or

methodology “fits” the facts of the case and whether it will assist the trier of

fact to understand the evidence. See Daubert at 591. This is primarily an

inquiry into the relevance of the expert testimony.          See id; see also

Bocanegra v. Vicmar Servs., Inc., 320 F.3d 581, 584 (5th Cir. 2003). Expert

testimony is unnecessary if the court finds that “the jury could adeptly assess

[the] situation using only their common experience and knowledge.” Peters

v. Five Star Marine Serv., 898 F.2d 448, 450 (5th Cir. 1990).


III. DISCUSSION

      Hunter Marine moves to exclude Hebert’s testimony on the grounds

that his opinions as to plaintiff’s work-life expectancy and future economic

loss are unreliable.12 Hunter Marine further moves to exclude Dr. Rice’s

testimony because his opinions are based on Hebert’s purportedly flawed

calculations. 13 Hunter Marine does not challenge the expert qualifications of

either witness.




12    R. Doc. 37-1 at 2.
13    R. Doc. 38-1 at 1.
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      A.    Diminished Work-Life Expectancy

      In his expert report, Hebert opines that plaintiff’s disability can be

 expected to reduce his labor force participation by between 10.1 and 12.3

 years. 14 Hebert’s opinion relies on the Gamboa Gibson Worklife Tables,

 which are created using census data from the Current Population Survey

 and the American Community Survey.15 Based on the information provided

 by the parties, the Gamboa Gibson tables appear to calculate average work-

 life expectancies for broad categories of disabled, severely disabled, and

 non-disabled individuals.16

      Hunter Marine argues that Hebert’s opinion as to plaintiff’s

 diminished work-life expectancy is based on unreliable methodology and

 unsupported by medical evidence.17 Citing to a vocational rehabilitation

 treatise, Hunter Marine contends that the Gamboa Gibson data sets are too

 broad to predict outcomes in individual cases.18 In response, plaintiff

 asserts that the Gamboa Gibson tables were independently replicated by the

 Center for Labor Market Studies at Northeastern University.19 But plaintiff




14    R. Doc. 37-2 at 10.
15    Id.; see also R. Doc. 37-4 at 53; R. Doc. 39-1 at 2.
16    R. Doc. 37-4 at 53; R. Doc. 39-1 at 8.
17    R. Doc. 37-1 at 6-8.
18    Id. at 7; R. Doc. 37-4 at 54.
19    R. Doc. 39 at 7.
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does not respond to the argument that the tables cannot usefully predict the

work-life expectancy of specific individuals.

      Hebert’s report quotes the Gamboa Gibson treatise for the proposition

that “[d]isability significantly reduces both earnings and worklife

expectancy,” but Hebert does not explain how plaintiff’s particular disability

is likely to affect his individual work-life expectancy. 20 Individuals can be

classified as disabled for many different reasons, with widely varying

possibilities of returning to work. Even assuming that the Gamboa Gibson

tables accurately reflect the average work-life expectancy of disabled versus

non-disabled populations, plaintiff fails to show that these tables can

reliably predict the future work-life expectancy of a specific person. See

Lackey v. Robert Bosch Tool Corp., No. 16-29, 2017 WL 129891, at *10 (E.D.

Ky. 2017) (excluding expert testimony based on the Gamboa Gibson tables

because the expert “grouped [plaintiff] with a wide range of ‘disabled’

persons, with little to no regard for the type or permanency of the injury,

work history, or the ability and intention to return to work”). Accordingly,

the Court finds that Hebert’s opinion as to plaintiff’s reduced work-life

expectancy is unreliable, and thus inadmissible.




20    R. Doc. 37-2 at 10.
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      B.     Pre-Accident Earning Capacity

      Hunter Marine also seeks to exclude Hebert’s testimony as to plaintiff’s

 future economic loss.21 Specifically, Hunter Marine contends that Hebert’s

 calculation of plaintiff’s pre-accident earning capacity is unreliable because

 it fails to consider plaintiff’s full work history. 22 Hebert calculates plaintiff’s

 pre-injury earning capacity by annualizing the wages he earned at Inland

 Dredging before he was injured.23          Plaintiff was employed by Inland

 Dredging for about six months before the accident, and earned $17.50 per

 hour at the time of the incident.24

      Hunter Marine does not contest that Hebert’s calculations are based

 on plaintiff’s actual earnings at the time of his accident. But Hunter Marine

 argues that plaintiff was unlikely to continue working at Inland Dredging at

 this wage level because he has in the past struggled to stay at a job for a

 sustained period of time. 25 Hunter Marine contends that plaintiff never

 earned more than $30,000 in a year, and any calculation of his pre-accident

 earning capacity should take into account the entirety of his work history. 26




21    R. Doc. 37-1 at 2.
22    Id. at 9.
23    R. Doc. 37-2 at 8-9.
24    R. Doc. 37-1 at 3; R. Doc. 37-2 at 8; R. Doc. 39-3 at 10, 15.
25    R. Doc. 37-1 at 3, 9.
26    Id. at 9.
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      The Fifth Circuit has instructed that “calculation of the lost income

stream begins with the gross earnings of the injured party at the time of

injury.” Culver v. Slater Boat Co., 722 F.2d 114, 117 (5th Cir. 1983). There

is no requirement that earnings be averaged over several years, even in

circumstances when the plaintiff earned substantially more at the time of

injury than in previous years.        See Martinez v. Offshore Specialty

Fabricators, Inc., 481 F. App’x 942, 949-50 (5th Cir. 2012) (rejecting

argument that lost wages should be calculated based on an average of three

or five years of past earnings); Suazo v. Atl. Sounding Co., Inc., No. 05-

6043, 2008 WL 57832, at *2 (E.D. La. 2008) (admitting expert testimony

estimating gross annual earnings based on plaintiff’s earnings for the nine

months before his injury).

      Hunter Marine’s reliance on other cases in which Hebert was excluded

is unavailing because in those matters Hebert did not base his calculations

on the plaintiff’s actual earnings.27 Cf. Henson v. Odyssea Vessels, Inc.,

No. 07-613, 2008 WL 449726, at *4 (E.D. La. 2008) (excluding expert

because he did not provide any basis or reasons for his estimate of plaintiff’s

prior earning capacity); Albert v. Jordan, No. 05-516, 2007 WL 4124519, at




27    R. Doc. 37-4 at 11-13.
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*2 (W.D. La. 2007) (noting that expert did not consider the plaintiffs’ prior

wages as part of his future earnings analysis).

      Accordingly, the Court finds that Hebert’s estimates of plaintiff’s pre-

accident earning capacity are admissible. To the extent that Hunter Marine

argues that plaintiff’s wages at the time of his injury do not accurately reflect

his likely future earnings, it may raise those issues on cross-examination.

See Fick v. Exxon Mobil Corp., No. 13-6608, 2016 WL 7976137, at *3 (E.D.

La. 2016); Suazo, 2008 WL 57832, at *2.

      C.    Economic Expert

      Hunter Marine moves to exclude the expert testimony of Dr. Rice

because his opinions are based on Hebert’s report.28 Hunter Marine does

not otherwise challenge Dr. Rice’s expertise or methodology. 29 Because

Hebert’s calculations of plaintiff’s pre-injury earning capacity are admissible,

Dr. Rice’s opinion based on those calculations is also admissible.

      Dr. Rice computes plaintiff’s net future lost wages by subtracting

plaintiff’s estimated future earnings from the amount he likely would have

earned had he not been injured.30 Dr. Rice calculates plaintiff’s estimated

future earnings in two different ways. First, Dr. Rice estimates how much


28    R. Doc. 38-1 at 1.
29    Id. at 2.
30    R. Doc. 38-2 at 2-3.
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plaintiff will earn if he continues to work for only 9.67 more years.31 This

reflects Hebert’s estimate of plaintiff’s diminished work-life expectancy.32

For the reasons explained above, the Court excludes Dr. Rice’s testimony to

the extent that it relies on Hebert’s estimate of plaintiff’s work-life

expectancy.

       In the alternative, Dr. Rice calculates plaintiff’s future earnings if he

continues to work for another 20.87 years. 33 This reflects the future work-

life expectancy of an individual of plaintiff’s gender, age, and education,

according to a Bureau of Labor Statistics study.34 The parties have not

suggested that the Bureau of Labor Statistics data is unreliable. Dr. Rice may

rely on the Bureau of Labor Statistics work-life expectancy data in his

testimony as to plaintiff’s future economic loss.


IV.    CONCLUSION

       For the foregoing reasons, Hunter Marine’s motions in limine are

GRANTED IN PART.           The Court excludes Glenn M. Hebert’s expert

testimony as to plaintiff’s reduced work-life expectancy. The Court further

excludes Dr. G. Randolph Rice’s expert testimony to the extent that it relies


31     Id. at 2.
32     Id.
33     Id.
34     Id. at 1.
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on Hebert’s work-life expectancy estimate. The motions are otherwise

DENIED.




          New Orleans, Louisiana, this _____
                                        23rd day of April, 2018.




                    _____________________
                         SARAH S. VANCE
                  UNITED STATES DISTRICT JUDGE




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